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AO 257 (Rev. 6/78)


         DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 BY: •       COMPLAINT             INFORMATION           •    INDICTMENT                         Name of District Court, and/or Judge/Magistrate
                                                         •    SUPERSEDING                           NORTHERN DISTRICT OF CAU50 RNIA
             OFFENSE CHARGED

                                                                    •   Petty
                                                                                                                SAN FRANCISCO DIVISION             02018
  18U.S.C371                                                                                                                            &ySANY
                                                                    [ I Minor          —    DEFENDANT - U.S

                                                                        Misde
                                                                    •   meanor             1^ Harry Hu
                                                                    [3 Felony
                                                                                             DISTRICT COURT NUMBER
 PENALP*':     5 year's Imprisonment
               $250,000 or twice the gross pecuniary gain or loss
               3 years of supervised release
               $100 special assessment

                                                                                                                        DEFENDANT

                              PROCEEDING                                                        IS WOriN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
   Name of Complalntant Agency, or Person (&Title, if any)                               1) [X] If notdetained give dateanyprior                   v
                      Federal Bureau of Investigation
                                                                                                  summons was served on above charges If
         person is awaiting trial in another Federal or State Court,                     2) Q Is a Fugitive
  •      give name of court

                                                                                         3) [J Is on Bail or Release from (show District)

         this person/proceeding is transferred from another district
  •      per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                               IS IN CUSTODY

                                                                                        4) Q On this charge
         this Is a reprosecution of
         charges previously dismissed                                                   5) r~| On another conviction              1
  •      which were dismissed on motion                             SHOW                                                           V Q Federal Q State
         of.                                                  DOCKET NO.
                                                                                        6) Q Awaiting trial on othercharges
         •   U.S. ATTORNEY         Q DEFENSE
                                                       }                                          If answer to (6) is "Yes", show name of institution

      this prosecution relates to a
                                                                                                                                If "Yes"
  Q pending case involving this same                                                         Has detainer D
      defendant                                               MAGISTRATE
                                                                CASE NO.
                                                                                             been filed?    •    No        }    give date
                                                                                                                                filed

                                                                                             DATE OF                     Month/DayA'ear
      prior proceedings or appearance(s)                                                                   I
  Q before U.S. Magistrate regarding this
      defendant were recorded under                    }                                     ARREST

                                                                                             Or... if Arresting Agency & Wan-ant were not

Name and Office of Person                                                                    DATE TRANSFERRED                           Month/DayA'ear
Furnishing Information on this form                    ALEX G.TSE                            TO U.S. CUSTODY               I
                             0 U.S. Attorney •          Other U.S. Agency
Name of Assistant U.S.                                                                       [~~| This report amends AO 257 previously submitted
Attorney (if assigned)                     Joseph M. AlictoJr.
                                                      ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

         • SUMMONS                NO PROCESS* •WARRANT                          Bail Amount;

         If Summons, complete following:
         •   Arraignment •        Initial Appearance                            * Where defendant previously apprehended on complaint, no new summons or
                                                                                wan^nt needed, since Magistrate has scheduled arraignment
         Defendant Address:

                                                                                Date/Time:                                 Before Judge:

         Comments:
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